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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

EDWARD R. FLYNN, GENE DAISEY,             )
DOUGLAS J. ABBOTT, PERCY CHAPMAN,         )                        CIVIL ACTION
and JANENE CHAPMAN, individually and on   )
behalf of all others similarly situated,  )                        CLASS ACTION
                                          )
         Plaintiffs,                      )                   Case No. 2:17-cv-04806-WB
                                          )
             v.                           )
                                          )
MANUFACTURERS AND TRADERS TRUST           )
COMPANY a/k/a M&T BANK,                   )
                                          )
         Defendant.                       )
__________________________________________)

APPENDIX IN SUPPORT OF AMENDED MOTION FOR CERTIFICATION (ECF 371)

To the Clerk:

Please file the attached exhibits to Plaintiffs’ Amended Motion for Class Certification: Exhibits 1,
2, 3, 10, 26, 27, 29, and 33. The other exhibits referenced in the Amended Declaration of Richard
Shenkan (ECF 372) and Brief in Support of Class Certification (ECF 373) are filed under seal.

SHENKAN INJURY LAWYERS, LLC.
/s/ Richard Shenkan
Richard Shenkan


                                 CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing has been sent, as filed, to all counsel of record through
the Court’s ECF system, which all counsel of record subscribes to.

SHENKAN INJURY LAWYERS, LLC.
/s/ Richard Shenkan
Richard Shenkan
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